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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



                                   )
SECURITIES AND EXCHANGE            )
COMMISSION,                        )
                                   )
           Plaintiff,              )
                                   )
    v.                             ) Case no. 17-cv-11633 DJC
                                   )
NAVELLIER & ASSOCIATES INC., LOUIS )
NAVELLIER,                         )
                                   )
           Defendants.             )
                                   )


                                     NOTICE OF APPEAL

       Notice is hereby given that Navellier & Associates, Inc. and Louis Navellier, Defendants

in the above-captioned action, appeal to the United States Court of Appeals for the First Circuit

from the “Final Judgment” entered June 2, 2020 (DKT#295); and from the: Partial Summary

Judgment Order filed on February 13, 2020, (DKT#252) and companion Order Dismissing

Counts Three and Four filed March 26, 2020 (DKT#266); the Order denying reconsideration/

new trial filed on April 2, 2020 (DKT#270) and all prior orders in this case subsumed in those

June 2, 2020, February 13, 2020, March 26, 2020 and April 2, 2020 orders, including orders

DKT#’s 294; 291; 272; 229; 217; 215; 209; 175; 165; March 13, 2019 electronic order; 143;

February 19, 2019 electronic order; 140; February 19, 2019 electronic order; 125; 108; 76 and

30.
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                                         Respectfully Submitted
Dated: June 4, 2020   By:

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                                      Certificate of Service

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on June 4, 2020.

                                                     /s/ Dan Cowan
                                                         Dan Cowan
